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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA               :
                                       :
            v.                         :     CRIMINAL ACTION NO.
                                       :     1:09-CR-475-WSD
FRANCISCO            TEJADA-           :
LANDAVERDE                             :

                    REPORT AND RECOMMENDATION


      This action is before the Court on Defendant’s Motion To Suppress Oral And

Written Statements [54] (“Motion”).


      At the February 3, 2010 evidentiary hearing on the Motion the Government

announced that it did not intend to introduce any oral or written statements of

Defendant Tejada - Ladaverde, and therefore, that it did not oppose the Motion.

Accordingly, the undersigned RECOMMENDS that Defendant’s Motion [54] be

GRANTED.


      IT IS SO RECOMMENDED this 5th day of February, 2010.


                                      __________________________________
                                      C. CHRISTOPHER HAGY
                                      UNITED STATES MAGISTRATE JUDGE
